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STATE OF NEW YORK _ )
COUNTY OF NASSAU m

MAUREEN SAUTER, being duly sworn, deposes and says:

That she is over the age of 21 years, resides at Massapequa, New York and is not a party to
this action.

That on the 28" day of April, 2011 she served the within Memorandum of Law in Further
Support of Ross University’s Motion for Summary Judgment pursuant to Rule 56 upon the parties
listed below, by depositing a true copy thereof in a properly sealed wrapper in a depository
maintained by the United States Postal Service located on the premises at Garden City Center, 100
Quentin Roosevelt Boulevard, Garden City, New York 11530, addressed as follows:
COSTELLO & COSTELLO, P.C.

Joseph R. Costello, Esq.
5919 20th Avenue
Brooklyn, NY 11204

that being the address designated on the latest papers served by them in this action.

Sworn to before me this
28" day of April, 2011.

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Nolany Puble C2

Sharon A. Cuffie
Notary Public, State of New York
No. 01CU6020584

 

Qualified in Suffolk County IS
Commission Expires March 01, 20 ==
